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                                  Cause N09-3810-17-J

 German Salas                                                               In the District Court


 Plaintiff


 VS.                                                                     Hidalgo County, Texas

 United Property & Casualty Insurance
 Company and Xavier Mendoza Jr


 Defendants.                                                                     Judicial District


       PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR
                                DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, German Salas ("Plaintiff'), and files this Plaintiff's Original Petition

complaining of United Property & Casualty Insurance Company and Xavier Mendoza Jr (or

collectively, "Defendants"), and for cause of action, Plaintiff would respectfully show the

following:

                             A. DISCOVERY CONTROL PLAN

        1.     Plaintiff intends to conduct discovery under Level 1 of Texas Rules of Civil

Procedure 190.2 and 169.

                                         B. PARTIES

        2.     Plaintiff, German Salas, is an individual residing in Hidalgo County, Texas at 1827

Butkus Dr., Edinburg, TX 78542.




                                                                       EXHIBIT
                                                1               :a.0
                                                                a
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        3.      Defendant, United Property & Casualty Insurance Company, is an insurance

company doing business in Texas and may be served as follows: C T Corporation System 1999

Bryan St Ste 900 Dallas TX 75201.

        4.     Defendant, Xavier Mendoza Jr, is an adjuster in the course and working scope of

employment with United Property & Casualty Insurance Company. Xavier Mendoza Jr can be

served at the residential address listed with the Texas Department of Insurance: 7917 McPherson

Rd, Ste 201, Laredo, TX 78045. Plaintiff requests service at this time.

                                        C. JURISDICTION

        5.      The Court has jurisdiction over United Property & Casualty Insurance Company

because United Property & Casualty Insurance Company engages in the business of insurance in

the State of Texas, and the causes of action arise out of its business activities in the State of Texas,

including those in Hidalgo County, Texas, with reference to this specific case.

       6.      The Court has jurisdiction over Xavier Mendoza Jr because Xavier Mendoza Jr is

a resident of the State of Texas who engages in the business of adjusting insurance claims in the

State of Texas, and the causes of action arise out of Xavier Mendoza Jr's business activities in the

State of Texas, with reference to this specific case.

                                             D. VENUE

       7.      Venue is proper in Hidalgo County, Texas, because the insured property is situated

in Hidalgo County, Texas. Tex. Civ. Prac. & Rem. Code § 15.032.

                                E. CONDITIONS PRECEDENT

       8.      All conditions precedent to recovery have been performed, waived, or have

occurred.

                        F. AGENCY AND RESPONDEAT SUPERIOR



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       9.      Whenever in this petition it is alleged that United Property & Casualty Insurance

Company did any act or omission, it is meant that United Property & Casualty Insurance Company

itself or its agents, officers, servants, employees, or representatives did such act or omission, and

it was done with the full authorization or ratification of United Property & Casualty Insurance

Company or done in the normal routine, course, and scope of the agency or employment of United

Property & Casualty Insurance Company or its agents, officers, servants, employees, or

representatives.

                                               G. FACTS

       10.     Plaintiff is a named insured under a property insurance policy     UTH0108365-02-

42 (the "Policy")—issued by United Property & Casualty. Insurance Company. The Policy insures,

among other things, against losses from storm damage to Plaintiff's property, namely, the real

property and improvements located at 1827 Butkus Dr., Edinburg, TX 78542 (the "Property").

       11.     On or about 05/31/2017, during the policy period, a storm caused damage to the

Property that was covered the Policy. The storm caused extensive damage to the Property including

but not limited to damage to the roof, ceilings, and fence.

       12.     Shortly after the storm, Plaintiff noticed damage to the Property. Plaintiff contacted

United Property & Casualty Insurance Company to notify United Property & Casualty Insurance

Company of the damage.

       13.     Plaintiff submitted a claim, 2017TX023744, to United Property & Casualty

Insurance Company against the Policy for all roof damage, water damage, and wind damage the

Property sustained as a result of the storm.

       14.     Plaintiff asked that United Property & Casualty Insurance Company honor its

contractual obligations to cover the cost of repairs to the Property.



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        15.    United Property & Casualty Insurance Company assigned Xavier Mendoza Jr to

adjust the claim. Defendants, United Property & Casualty Insurance Company and Xavier

Mendoza Jr, conducted a substandard investigation of Plaintiff's claim, failed to thoroughly

investigate Plaintiff's losses, and spent an inadequate amount of time on the investigation. Xavier

Mendoza Jr failed to fully inspect all damage to the Property.

        16.    Despite obvious, visible storm damage, Xavier Mendoza Jr, on his/her own behalf

and on behalf of United Property & Casualty Insurance Company, verbally misrepresented to

Plaintiff at the time of the inspection and thereafter that the Property had minimal storm-related

damage. Xavier Mendoza Jr repeated this misrepresentation, again on his/her own behalf and on

behalf of United Property & Casualty Insurance Company, in a letter to Plaintiff dated 7/17/2017.

       17.     Together, Defendants United Property & Casualty Insurance Company and Xavier

Mendoza Jr set out to deny properly-covered damages by performing a results-oriented

investigation of Plaintiff's claim, which resulted in a biased, unfair, and inequitable evaluation of

Plaintiff's losses on the Property.

       18.     Defendant United Property & Casualty Insurance Company failed to perform its

contractual obligation to adequately compensate Plaintiff under the terms of the Policy. All

conditions precedent to recovery under the Policy have been performed by Plaintiff. United

Property & Casualty Insurance Company's conduct constitutes a breach of the insurance contract

between United Property & Casualty Insurance Company and Plaintiff.

       19.     Even though the Property sustained obvious damage caused by a covered

occurrence, Defendants misrepresented the scope of damage to the Property and misrepresented

the scope of coverage under the Policy. Defendants' conduct is a violation of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(1).



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       20.       Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner,

although they were aware of their liability to Plaintiff under the Policy. Defendants' conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §

541.060(a)(2)(A).

       21.       Defendants refused to adequately compensate Plaintiff under the terms of the

Policy, and they failed to conduct a reasonable investigation of the claim. This conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §

541.060(a)(7).

       22.       Defendants failed to offer Plaintiff a reasonable explanation for why Plaintiffs

claim was denied. This conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE § 541.060(a)(3).

       23.       Defendant, United Property & Casualty Insurance Company, failed to timely

acknowledge Plaintiffs claim, begin an investigation of the claim, and request all information

reasonably necessary to investigate Plaintiffs claim within the statutorily mandated time of

receiving notice of the claim. This conduct is a violation of the Texas Insurance Code, Prompt

Payment of Claims. TEX. INS. CODE § 542.055.

       24.       Defendant, United Property & Casualty Insurance Company, failed to accept or

deny Plaintiffs full and entire claim within the statutorily mandated time of receiving all the

necessary information. This conduct is a violation of the Texas Insurance Code, Prompt Payment

of Claims. TEX. INS. CODE §542,056.

       25.       Defendant, United Property & Casualty Insurance Company, delayed full payment

of Plaintiffs claim longer than allowed, and, to date, Plaintiff has not received full payment for

Plaintiffs claim. This conduct is a violation of the Texas Insurance Code, Prompt Payment of



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Claims. TEX. INS. CODE § 542.058.

        26.     Since the time Plaintiff's claim was presented to Defendant United Property &

Casualty Insurance Company, the liability of United Property & Casualty Insurance Company to

pay the full claim in accordance with the terms of the Policy has been reasonably clear.

Nevertheless, United Property & Casualty Insurance Company has refused to pay, despite there

being no basis on which a reasonable insurance company would have relied to deny the claim.

This conduct is a violation of United Property & Casualty Insurance Company's duty of good faith

and fair dealing.

        27.     Defendants knowingly or recklessly made false representations, as described

above, as to material facts. Alternatively, Defendants knowingly concealed all or part of material

information from Plaintiff.

        28.     To date, Plaintiff has yet to receive full payment for the damages to which Plaintiff

is entitled under the Policy. Plaintiff has suffered damages as a result of Defendants' actions

described above. The mishandling of Plaintiff's claim also caused a delay in Plaintiffs ability to

fully repair the Property, resulting in additional damages.

                                    H. CAUSES OF ACTION

  I.    BREACH OF CONTRACT (against United Property & Casualty Insurance Company)

        29.     Defendant United Property & Casualty Insurance Company had a contract of

insurance with Plaintiff. Plaintiff met or performed all conditions precedent under the contract.

United Property & Casualty Insurance Company breached the terms of that contract by wrongfully

denying and/or underpaying the claim, and Plaintiff was damaged thereby.

        30.    Defendant United Property & Casualty Insurance Company is therefore liable to

Plaintiff for breach of contract.



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 II.   PROMPT PAYMENT OF CLAIMS STATUTE (against United Property & Casualty
       Insurance Company)

       31.     Plaintiffs claim is a claim under an insurance policy with Defendant United

Property & Casualty Insurance Company, of which Plaintiff gave United Property & Casualty

Insurance Company proper notice. United Property & Casualty Insurance Company is liable for

the claim.

       32.     Defendant United Property & Casualty Insurance Company violated the prompt

payment of claims provisions of the Texas Insurance Code, namely, section 542.051 et seq., by:

       33.     Failing to acknowledge or investigate the claim or to request from Plaintiff all

items, statements, and forms United Property & Casualty Insurance Company reasonably believed

to be required within the time constraints provided by Tex. Ins. Code § 542.055; failing to notify

Plaintiff in writing of its acceptance or rejection of the claim within the applicable time constraints

provided by Tex. his. Code § 542.056; and/or delaying payment of the claim following United

Property & Casualty Insurance Company's receipt of all items, statements, and forms reasonably

requested and required, longer than the amount of time provided by Tex. Ins. Code § 542.058.

       34.     Defendant United Property & Casualty Insurance Company is therefore liable to

Plaintiff for damages. In addition to Plaintiffs claim for damages, Plaintiff is further entitled to

18% interest and attorney's fees as set forth in section 542.060 of the Texas Insurance Code.

III. UNFAIR SETTLEMENT PRACTICES/BAD FAITH (against all Defendants)

       35.     Each of the foregoing paragraphs is incorporated by reference here fully.

       36.     As explained further herein, Defendants violated Tex. Ins. Code § 541.060(a) by

engaging in unfair settlement practices.

         DEFENDANT United Property & Casualty Insurance Company

       37.     Defendant United Property & Casualty Insurance Company engaged in unfair


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settlement practices by misrepresenting to Plaintiff a material fact or policy provision relating to

the coverage at issue; failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of a claim after United Property & Casualty Insurance Company's liability became

reasonably clear; failing to promptly provide Plaintiff with a reasonable explanation of the basis

in the Policy in relation to the facts or applicable law for United Property & Casualty Insurance

Company's denial of a claim or offer of a compromise settlement of a claim; failing within a

reasonable time to affirm or deny coverage of a claim to Plaintiff or submit a reservation of rights

to Plaintiff; and refusing to pay the claim without conducting a reasonable investigation with

respect to the claim.

       38.     Each of the aforementioned unfair settlement practices was committed knowingly

by Defendant United Property & Casualty Insurance Company and was a producing cause of

Plaintiff's damages. United Property & Casualty Insurance Company is therefore liable to Plaintiff

for engaging in such unfair settlement practices and causing Plaintiff damages.

        DEFENDANT Xavier Mendoza Jr

       39.     Defendant Xavier Mendoza Jr was a contractor and/or adjuster assigned by Xavier

Mendoza Jr to assist with adjusting the claim. Xavier Mendoza Jr was charged with investigating

the claim and communicated with the insured about the Policy terms. Insurance adjusters are

"persons engaged in the business of insurance" under Tex. Ins. Code 541.001, et seq., and are

individually liable for their individual violations of the Texas Insurance Code. See Liberty Mut.

Ins. Co. v. Garrison Contractors, Inc., 966 S.W.2d 482, 486 (Tex. 1998).

       40.     Xavier Mendoza Jr was tasked with the responsibility of conducting a thorough and

reasonable investigation of Plaintiff's claim, including the discovery of covered damages and fully

quantifying covered damages to Plaintiff's Property.



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        41.    Xavier Mendoza Jr conducted a substandard, results-oriented inspection of the

Property.

        42.    As such, Xavier Mendoza Jr failed to discover covered damages and/or fully

quantify covered damages to Plaintiffs Property, as the Policy and Texas law require.

        43.    Further, Xavier Mendoza Jr misrepresented material facts to Plaintiff, that is, the

existence and true value of Plaintiff's covered losses. Additionally, Xavier Mendoza Jr failed to

provide Plaintiff with a reasonable explanation as to why Xavier Mendoza Jr did not compensate

Plaintiff for the covered losses, or the true value thereof.

        44.     Thus, Xavier Mendoza Jr engaged in unfair settlement practices by:

misrepresenting to Plaintiff a material fact or policy provision relating to the coverage at issue;

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of a claim

after United Property & Casualty Insurance Company's liability became reasonably clear; failing

to promptly provide Plaintiff with a reasonable explanation of the basis in the Policy in relation to

the facts or applicable law for its adjuster's denial of the claim or offer of a compromise settlement

of the claim; and/or failing to conduct a reasonable investigation of Plaintiffs claim. Each of the

aforementioned unfair settlement practices was committed knowingly by Xavier Mendoza Jr and

was a producing cause of Plaintiffs damages. Xavier Mendoza Jr is therefore liable to Plaintiff for

engaging in such unfair settlement practices and causing Plaintiff damages.

IV.    DTPA VIOLATIONS (against all Defendants)

       45.     Each of the foregoing paragraphs is incorporated by reference here fully.

       46.     At all material times herein, Plaintiff was a "consumer" who purchased insurance

products and services from Defendants, and the products and services form the basis of this action.

       47.     Defendants have violated the Texas Deceptive Trade Practices Consumer



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Protection Act ("DTPA") in at least the following respects:

       48.     Defendants represented that the Policy confers or involves rights, remedies, or

obligations which it does not have, or involve, or which are prohibited by law; Defendants

represented goods, products, or services had sponsorship, approval, characteristics, uses, benefits,

or quantities they do not have; Defendants failed to disclose information concerning goods or

services which was known at the time of the transaction when such failure to disclose such

information was intended to induce Plaintiff into a transaction Plaintiff would not have entered

into had the information been disclosed; Defendants, by accepting insurance premiums but refusing

without a reasonable basis to pay benefits due and owing engaged in an unconscionable action or

course of action as prohibited by the DTPA § 17.50(a)(1)(3) in that Defendants took advantage of

Plaintiffs lack of knowledge, ability, experience, and capacity to a grossly unfair degree that also

resulted in a gross disparity between the consideration paid in the transaction and the value

received, in violation of Chapter 541 of the Insurance Code; generally engaging in unconscionable

courses of action while handling Plaintiffs claim; and/or violating the provisions of the Texas

Insurance Code, as further described elsewhere herein.

       49.     As a result of Defendants' violations of the DTPA, Plaintiff suffered actual

damages, and such violations were a producing, actual, and proximate cause of Plaintiffs

damages. Therefore, Defendants are liable to Plaintiff for violations of the DTPA.

       50.     Further, Defendants knowingly and/or intentionally committed the acts complained

of herein. As such, Plaintiff is entitled to exemplary and/or treble damages pursuant to the DTPA

and Texas Insurance Code § 541.152(a)-(b).

 V. BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING (against United
      Property & Casualty Insurance Company)

       51.     Defendant United Property & Casualty Insurance Company breached the common


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law duty of good faith and fair dealing owed to Plaintiff by denying or delaying payment on the

claim when United Property & Casualty Insurance Company knew or should have known liability

was reasonably clear. United Property & Casualty Insurance Company's conduct proximately

caused Plaintiffs damages.

        52.    Defendant United Property & Casualty Insurance Company is therefore liable to

Plaintiff.

VI.     ATTORNEY'S FEES

        53.    Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendants and agreed to pay reasonable attorney's fees and expenses through trial and any appeal.

        54.    Plaintiff is entitled to recover reasonable and necessary attorney's fees pursuant to

Tex. Civ. Prac. & Rem. Code §§ 38.001-38.003 because Plaintiff is represented by an attorney,

presented the claim to Defendants, and Defendants did not tender the just amount owed before the

expiration of the 30th day after the claim was presented.

        55.    Plaintiff is additionally or alternatively entitled to recover reasonable and necessary

attorney's fees pursuant to Tex. Bus. & Com. Code § 17.50(d).

        56.    Plaintiff is additionally or alternatively entitled to recover reasonable and necessary

attorney's fees pursuant to sections 541.152 and 542.060 of the Texas Insurance Code.

                                        I. KNOWLEDGE

        57.    Each of the acts described above, together and singularly, was done "knowingly,"

as that term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs damages

described herein.

                                          J. DAMAGES

        58.    Plaintiff would show that all of the aforementioned acts, taken together or
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singularly, constitute the producing causes of the damages sustained by Plaintiff.

       59.     Due to the mishandling of Plaintiff's claim by Defendants, the damages caused by

the 05/31/2017 storm have not been fully addressed or repaired in the months since the storm,

causing further damages to the Property, and causing undue hardship and burden to Plaintiff.

These damages are a direct result of Defendants' mishandling of Plaintiff's claim in violation of

the laws set forth above.

       60.     For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which

is the amount of the claim, together with attorney's fees.

       61.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include the loss of the benefits that should have been

paid pursuant to the Policy, mental anguish, court costs, and attorney's fees. For knowing conduct

of the acts described above, Plaintiff asks for three times the actual damages. TEX. INS. CODE §

541.152.

       62.     For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of the claim, as well as eighteen (18) percent interest per annum

on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE §

542.060.

       63.     For breach of the common law duty of good faith and fair dealing, Plaintiff is

entitled to compensatory damages, including all forms of loss resulting from the insurer's breach

of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

insurer owed, exemplary damages, and damages for emotional distress.

       64.     For fraud, Plaintiff is entitled to recover actual damages, as well as exemplary

damages for knowingly fraudulent and malicious representations, along with attorney's fees,



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interest, and court costs.

        65.     For the prosecution and collection of this claim, Plaintiff was compelled to engage

the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is

entitled to recover a sum for the reasonable and necessary services of Plaintiff's attorney in the

preparation and trial of this action.

                       K. STATEMENT OF RELIEF AND DAMAGES

        66.     As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff's counsel

states that the damages sought are in an amount within the jurisdictional limits of this Court. As

required by Rule 47(c), Texas Rules of Civil Procedure, Plaintiff's counsel states that Plaintiff is

seeking monetary relief of less than $100,000, including damages of any kind, penalties, costs,

expenses, prejudgment interest, and attorney's fees. A jury, however, will ultimately determine

the amount of monetary relief actually awarded. Plaintiff also seeks pre-judgment and post-

judgment interest at the highest legal rate.

                                L. RESERVATION OF RIGHTS

        67.    Plaintiff reserves the right to prove the amount of damages at trial. Plaintiff

reserves the right to amend this petition to add additional counts upon further discovery and as the

investigation continues.

                                        M. JURY DEMAND

        68.    Plaintiff hereby request that all causes of action alleged herein be tried before a jury

consisting of citizens residing in Hidalgo County, Texas. Plaintiff hereby tenders the appropriate

jury fee.




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                                N. REQUEST FOR DISCLOSURE

        69.     Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that

Defendants disclose, within fifty (50) days from the date this request is served, the information or

material described in Rules 194.2.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff has and recover such sum as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, as to actual damages, trebled, under the Texas

Insurance Code and Texas Deceptive Trade Practices Consumer Protection Act, and all punitive

and exemplary damages as may be found. In addition, Plaintiff requests the award of attorney's

fees for the trial and any appeal of this case, for all court costs on Plaintiff's behalf expended, for

pre-judgment and post-judgment interest as allowed by law, and for any other and further relief,

either at law or in equity, to which Plaintiff is justly entitled.




                                                         Respectfully submitted,

                                                         ZAR LAW FIRM

                                                         /s/Matthew M. Zarghouni
                                                         Matthew Zarghouni
                                                         State Bar No. 24086085
                                                         7322 Southwest Fwy, Suite 1965
                                                         Houston, Texas 77074
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                                                         Fax: (832) 448-9149
                                                         Matt@zar-law.com

                                                         ATTORNEY FOR PLAINTIFF




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